 Case 16-39654       Doc 405   Filed 02/26/19 Entered 02/27/19 11:37:33             Desc Main
                                Document       Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )              BK No.: 16-39654
ARGON CREDIT, LLC, et al.                      )              (Jointly Administered)
                                               )              Chapter: 7
                                               )
                                                              Honorable Deborah L. Thorne
                                               )
                                               )
                Debtor(s)                      )
       ORDER GRANTING MOTION FOR ENTRY OF AN ORDER: (I) PURSUANT TO
           BANKRUPTCY RULE 9019 APPROVING SETTLEMENTS WITH THIRD-
  PARTY RECIPIENTS OF TRANSFERS, (II) APPROVING PAYMENT OF CONTINGENCY
                FEES AND (III) APPROVING REQUEST FOR LIMITED NOTICE
       This matter coming before the Court upon the motion (the “Motion”) of Eugene Crane
(the “Trustee”), the chapter 7 Trustee in the above-captioned cases, for entry of an order approving the
Trustee's settlements with Ytel, Inc. (“Ytel”), CyberRidge, LLC (“CyberRidge”) and LendingTree, LLC
(“LendingTree”), approving payment of certain contingency fees, and approving limited notice of the
Motion; due and proper notice having been given under the circumstances and for good cause
appearing;

      IT IS HEREBY ORDERED that:

       1) The settlement between the Trustee and Ytel, the terms of which are set forth in the Ytel
Settlement Agreement attached to the Motion as Exhibit 1, is hereby approved.

      2) The settlement between the Trustee and CyberRidge, the terms of which are set forth in the
CyberRidge Settlement Agreement attached to the Motion as Exhibit 2, is hereby approved.

      3) The settlement between the Trustee and LendingTree, the terms of which are set forth in the
LendingTree Settlement Agreement attached to the Motion as Exhibit 3, is hereby approved.

       4) The Trustee is authorized to pay Freeborn, on an interim basis, the amount of $6,500.00
representing Settlement Amount Contingency Fees (as defined in the Motion) due and owing on
account of the settlements approved in this Order.

       5) The request for limited notice of the Motion is approved.

                                                         Enter:


                                                                  Honorable Deborah L. Thorne
Dated: February 26, 2019                                          United States Bankruptcy Judge

 Prepared by:
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 Freeborn & Peters LLP
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 Chicago, IL 60606
